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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                                  Judge Raymond P. Moore

  Civil Action No. 21-cv-00291-RM-MEH

  JEREMIAH AXTELL,

          Plaintiff,

  v.

  CITY OF LAKEWOOD, a municipality, et al.,

          Defendants.


       ORDER GRANTING LEAVE TO PROVIDE LIMITED SCOPE REPRESENTATION
               PURSUANT TO D.C.COLO. LAttyR 2(b)(1) and LAttyR 5(a)


          PURSUANT to D.C.COLO.LAttyR 2(b)(1) and LAttyR 5(a) of the District of

  Colorado Local Rules of Practice, the Court ORDERS as follows:

          (1) That, for good cause shown, the Motion for Leave to Provide Limited Scope

              Representation filed by Anita Springsteen, Esq. filed March 24, 2021 (ECF

              No. 19) is granted. Ms. Springsteen may represent Plaintiff for the following

              limited purposes: to assist with initiating a case, amending pleadings,

              preparing and filing initial necessary motions or pleadings, pre-conference

              attorney-client discussions, assisting as the party’s representative during

              settlement conferences and depositions, appearing at the scheduling

              conference, and whatever other initial assistance may be necessary until

              Plaintiff has obtained other counsel when/if necessary;

          (2) That, at the conclusion of this limited representation, Ms. Springsteen

              shall file a motion for leave to withdraw from providing limited scope
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                  representation; and

             (3) That, by Wednesday, March 31, 2021, Plaintiff shall file a notice containing

                  his address for the court record.1

             SO ORDERED.

             DATED this 25th day of March, 2021.

                                                                   BY THE COURT:



                                                                   ____________________________________
                                                                   RAYMOND P. MOORE




  1
      The complaint uses Ms. Springsteen’s law firm’s address as Plaintiff’s address. (ECF No. 9, p. 4.)

                                                              2
